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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


   CRAIG D. ANDERSON
                                           HONORABLE JEROME B. SIMANDLE
                  Plaintiff,

         v.                                        Civil Action
                                              No. 16-1499 (JBS/KMW)
   ZFC LEGAL TITLE TRUST I, U.S.
   BANK NATIONAL ASSOCIATION AS                             ORDER
   TRUSTEE; ZAIS FINANCIAL
   CORPORATION; FAY SERVICING,
   LLC; FEIN, SUCH, KAHN &
   SHEPARD, P.C.; WELLS FARGO
   BANK; WACHOVIA MORTGAGE
   CORPORATION; M.E.R.S. INC.;
   CITI; MARK BISCHOF; XEE MOUA;
   CINDY SMITH; NICOLE SIMMONS;
   LAUREN POWELL; SUSAN E.
   BALFANZ

                    Defendants.


       This matter having come before the Court on Defendants’

  motions to dismiss the Complaint [Docket Items 6, 14, 17, 21];

  the Court having considered the submissions of the parties; for

  the reasons explained in the Opinion of today’s date; and for

  good cause shown;

       IT IS this     22nd     day of   December , 2016, hereby

       ORDERED that Defendants’ motions to dismiss [Docket Items

  6, 14, 17, 21] are GRANTED; and it is further

       ORDERED that Plaintiff’s Complaint shall be, and hereby is,

  DISMISSED; all federal claims are dismissed with prejudice and
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  all state law claims are dismissed without prejudice for lack of

  supplemental jurisdiction; and it is further

       ORDERED that the Clerk of Court shall CLOSE this case upon

  the docket.

                                            s/ Jerome B. Simandle
                                           JEROME B. SIMANDLE
                                           Chief U.S. District Judge




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